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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


 WSOU INVESTMENTS, LLC d/b/a
 BRAZOS LICENSING AND                               Civil Action No.: 6:20-cv-00480-ADA-DTG
 DEVELOPMENT,                                       Civil Action No.: 6:20-cv-00481-ADA-DTG
                                                    Civil Action No.: 6:20-cv-00486-ADA-DTG
      Plaintiff,

               v.                                   JURY TRIAL DEMANDED

 DELL TECHNOLOGIES INC.,
 DELL INC., EMC CORPORATION,
 AND VMWARE, INC.,

      Defendants.


                    JOINT MOTION TO AMEND SCHEDULING ORDER

       Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development (“Brazos”)

and Defendants Dell Technologies Inc., Dell Inc., EMC Corporation, and VMware, Inc.

(“Defendants”) (collectively, “Parties”) hereby respectfully submit this Joint Motion to Amend

Scheduling Order with respect to Case Nos. 6:20-cv-00480, 6:20-cv-00481, and 6:20-cv-00486.

The Parties have agreed to adjust the Scheduling Order to afford the Parties additional time to

prepare for expert reports and trial. The Parties have jointly agreed to modify the case schedule

with respect to Case Nos. 6:20-cv-00480, 6:20-cv-00481, and 6:20-cv-00486 as reflected in the

proposed scheduling order attached as Exhibit 1.
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Dated: July 7, 2022              RESPECTFULLY SUBMITTED,


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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument was served or

delivered electronically to all counsel of record, on this 7th day of July 2022, via the Court’s

CM/ECF system.

                                                   /s/ Jonathan K. Waldrop
                                                   Jonathan K. Waldrop
